             Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 1 of 7




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10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   MS. HOLMES’ MOTION TO EXCLUDE
16                                             )   CERTAIN TESTIMONY OF ERIKA CHEUNG,
       v.                                      )   DANIEL EDLIN, AND SO HAN SPIVEY (A.K.A.
17                                             )   DANISE YAM)
     ELIZABETH HOLMES and                      )
18   RAMESH “SUNNY” BALWANI,                   )   Date: September 8, 2021
                                               )   Time: 8:30 a.m.
19          Defendants.                        )   CTRM: 4, 5th Floor
                                               )
20                                             )   Hon. Edward J. Davila
                                               )
21                                             )
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     MS. HOLMES’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF ERIKA CHEUNG, DANIEL
     EDLIN, AND SO HAN SPIVEY (A.KA. DANISE YAM)
     CR-18-00258 EJD
             Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 2 of 7




 1                     MOTION TO EXCLUDE CERTAIN WITNESS TESTIMONY

 2          PLEASE TAKE NOTICE that on September 8, 2021 at 8:30 a.m., or on such other date and time

 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 5 respectfully move the Court pursuant to Rules 401–404, 602, 702 and 801 of the Federal Rules of

 6 Evidence, Rule 16 of the Federal Rules of Criminal Procedure, Criminal Local Rule 16-1(c)(3), and this

 7 Court’s Order re: Motions in Limine, Dkt. 798 to exclude certain testimony of Erika Cheung, Daniel

 8 Edlin, and So Han Spivey (a.k.a. Danise Yam). The Motion is based on the below Memorandum of

 9 Points and Authorities, the record in this case, and any other matters that the Court deems appropriate.

10

11 DATED: September 6, 2021

12

13                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
14                                                       LANCE WADE
                                                         AMY MASON SAHARIA
15                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF ERIKA CHEUNG, DANIEL
   EDLIN, AND SO HAN SPIVEY (A.K.A. DANISE YAM)
   CR-18-00258 EJD
                                          i
                Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 3 of 7




 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2          The government has identified the following witnesses for the upcoming week of trial: Erika

 3 Cheung, Daniel Edlin, Justin Offen, and So Han Spivey (a.k.a. Danise Yam). Defendant Elizabeth

 4 Holmes hereby objects and moves to exclude the following potential testimony of Ms. Cheung, Mr.

 5 Edlin, and Ms. Yam.1

 6 I.       Erika Cheung

 7         Erika Cheung is a former Theranos employee who began working at Theranos soon after
            graduating from college. The government’s interview memorandum is replete with statements by
 8          Ms. Cheung recounting out-of-court statements by others about matters about which she lacks
            personal knowledge. Ms. Holmes has categorized the inadmissible testimony below; the category
 9
            letters correspond to annotated portions of Ms. Cheung’s interview memorandum: 2
10
           Category A: The memorandum indicates that the government may seek to elicit testimony from
11          Ms. Cheung that recounts for the truth of the matter asserted statements purportedly made by
            Theranos employees and others. This testimony is inadmissible hearsay. Fed. R. Evid. 801; e.g.,
12          Saharia Decl., Ex. 1 (2/4/2021 Cheung 302) at 3 (statement from Karthik (Last Name Unknown)
13          regarding technical issue); id. at 5 (statement from Langley Gee regarding quality control); id. at
            6 (statements from Sharada Sivaraman and unnamed other team members regarding pressure to
14          complete validation reports); id. at 7 (statements from Tyler Shultz, Ms. Cheung, and George
            Shultz during meeting); id. at 8 (statements from unnamed employees about lab practices); id. at
15          9 (statement from Sharada Sivaraman regarding inspection visit from regulators).
16
           Category B: Relatedly, the memorandum indicates that the government may elicit testimony about
17          events for which Ms. Cheung lacks personal knowledge, including about Ms. Holmes’ interactions
            with others that Ms. Cheung did not observe. E.g., Saharia Decl., Ex. 1 at 6 (statement about
18          meeting between Ms. Holmes and Tyler Shultz that Ms. Cheung did not attend concerning
            validation study she did not conduct). Similarly, the government may elicit testimony based only
19          on information Ms. Cheung received from other Theranos employees, such as that she learned
            about pressure to complete validation studies and reports. Id. at 6. Because this testimony is not
20
            based on Ms. Cheung’s personal knowledge, it should be excluded. Fed. R. Evid. 602.
21
           Category C: The memorandum indicates that the government may seek to elicit testimony
22          concerning Ms. Cheung’s emotional response to her time at Theranos, including that she was
            “depressed at the time [she left Theranos] and took a break from working.” See Saharia Decl., Ex.
23          1 at 8. Such testimony is not relevant under Rule 401 and is unduly prejudicial under Rule 403.
24
           Category D: The interview memorandum indicates that the government may seek to elicit
25          testimony concerning Ms. Cheung’s interactions with Theranos attorneys and employees without

26          1
                Ms. Holmes reserves the right to right to object to additional testimony contemporaneously.
            2
27            The objectionable portions of Ms. Cheung’s 302 are highlighted and annotated with the
     applicable category. See Saharia Decl., Ex. 1 (2/4/2021 Cheung 302).
28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF ERIKA CHEUNG, DANIEL
   EDLIN, AND SO HAN SPIVEY (A.K.A. DANISE YAM)
   CR-18-00258 EJD
                                          1
                   Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 4 of 7




 1             sufficient connection to Ms. Holmes in violation of this Court’s Motion in Limine Order. For
               example:
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                     o Ms. Cheung told the government that a Theranos attorney provided Ms. Cheung with a
 3
                       non-disclosure agreement and that “it seemed to Cheung that she was being followed,
 4                     which scared her and rattled her sense of personal safety.” See Saharia Decl., Ex. 1 at 8.
                       This Court has already ruled that “it will be incumbent upon the Government to come
 5                     forward with a sufficient connection between Holmes and Theranos’ implementation of
                       particular trade secrets practices, including threatening and intimidating employees or
 6                     former employees of the company.” Dkt. 798 at 66. The government has not yet proffered
                       how it intends to connect this alleged conduct to Ms. Holmes. 3
 7

 8                   o Ms. Cheung told the government that “Theranos was . . . just telling lab clinicians to get
                       the QC’s to pass and do whatever they needed to do in order to get the QC to pass.” Saharia
 9                     Decl., Ex. 1 at 5. Ms. Cheung did not connect these events to Ms. Holmes in any way.
                       Under the Court’s order, the government must proffer a connection to Ms. Holmes before
10                     this testimony could be admissible. Dkt. 798 at 63 (“[Government] cannot attribute the
11                     actions of others to [Ms. Holmes] without evidence that causally connects her with those
                       actions.”).
12
     II.       Daniel Edlin
13
              Mr. Edlin was a project manager at Theranos from 2011 until 2016 and was involved in Theranos’
14             communications with the Department of Defense. The government may seek to elicit testimony
               from Mr. Edlin concerning the truth of Ms. Holmes’ statements to Department of Defense officials
15             and that implies that the Department of Defense was a victim of wire fraud. See Saharia Decl.,
               Ex. 2 at 8 (8/20/2021 Edlin 302). For the following reasons, any such testimony is inadmissible
16
               under Rules 401-404, Criminal Local Rule 16-1(c)(3), and this Court’s Order re: Motions in
17             Limine, Dkt. 798.

18             First, the government has represented that the Department of Defense is not a victim of wire fraud
               as charged in the indictment. After the government amended the indictment to define “investors”
19             to include “business partners,” Ms. Holmes moved to dismiss the indictment on the ground that
20             the term “business partner” was unduly vague, noting that it was unclear whether “business
               partner” included the Department of Defense. Ms. Holmes’ Mot. to Dismiss SSI and TSI for Lack
21             of Notice, Dkt. 496, at 8. In response, the government made crystal clear that the “business
               partners” referenced in the indictment are only “Safeway and Walgreens.” Gov’t Opp’n to Def.
22             Mot. to Dismiss SSI and TSI for Lack of Notice, Dkt. 522, at 9. The Department of Defense is not
               a victim of wire fraud as charged in the indictment.
23
               Second, evidence of alleged misrepresentations to the Department of Defense would constitute
24
               inadmissible propensity evidence under Rule 404(a). Because the Department of Defense is not a
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26             3
            Ms. Holmes reiterates her objection to evidence of Theranos’ trade secrets practices under
27 Rules 401-403   and 404(b). See Ms. Holmes’ Motion to Exclude Evidence of Theranos’ Trade Secretes
   Practices, Dkt. 566.
28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF ERIKA CHEUNG, DANIEL
   EDLIN, AND SO HAN SPIVEY (A.K.A. DANISE YAM)
   CR-18-00258 EJD
                                                       2
                 Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 5 of 7




 1              victim, Ms. Holmes’ statements to that entity could only be used to show a character for lying,
                with which Ms. Holmes acted in conformity on other occasions, in violation of Rule 404(a).
 2
                Third, although the government alleged in its Rule 404(b) notice that Ms. Holmes made
 3
                misrepresentations to certain government agencies, the Department of Defense was not one of
 4              them. In its motion in limine order, the Court required the government to give notice, including
                explanation for the reasons for late disclosure, in order to introduce evidence of alleged
 5              misrepresentations to other “regulatory organizations.” See Court’s Order re: Motions in Limine,
                Dkt. 798 at 30; see also Criminal Local Rule 16-1(c)(3) (requiring disclosure of 404(b)
 6              evidence). No notice has been provided. And even if the government had timely disclosed such
                evidence under Rule 404(b), it would be irrelevant under Rules 401-402 and inadmissible under
 7
                Rule 403. That is because the indictment alleges misrepresentations about Theranos’ relationship
 8              with the Department of Defense to third parties, see TSI, Dkt. 469, ¶ 12(e)—not misrepresentations
                to the Department of Defense.
 9
     III.       Danise Yam
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               Ms. Yam was Theranos’ Corporate Controller from 2006 to 2017. The government’s interview
11              memoranda indicate that it may seek to introduce Theranos’ tax returns through Ms. Yam. Saharia
                Decl., Ex. 3 at 4-5 (7/20/2021 Yam 302). Those tax returns, and testimony about the tax returns,
12
                should be excluded under Rules 401 and 403 as irrelevant and misleading if not accompanied by
13              expert testimony. It is unclear how those tax returns are relevant to any allegations in the
                indictment. To the extent their relevance depends on an analytical comparison between taxable
14              income and loss, on the one hand, and Theranos’ financial models and statements allegedly
                provided to investors, on the other hand, that relevance and connection depend on expert testimony
15              that has not been noticed. See Fed. R. Evid. 701, 702; Fed. R. Crim. P. 16.
16
               Relatedly, the memoranda indicate that the government may seek to elicit testimony from Ms.
17              Yam concerning the differences between disclosed income on tax returns and other financial
                documents. Saharia Decl., Ex. 3 at 4-5. The government has noticed no expert who will explain
18              the relevance of any differences between income figures in various financial documents, how
                experts calculate income for various purposes, what methodology experts use to compare those
19              figures (if any), or if any such comparative analysis would generally be accepted in the field. See
20              Fed. R. Evid. 702. Any such testimony requires technical knowledge and expertise and is therefore
                barred by the federal rules. See Fed. R. Crim. P. 16; Fed. R. Evid. 701, 702.
21
               The memoranda also indicate that the government may seek to introduce testimony suggesting that
22              Theranos’ failure to have a final audited financial statement during certain years was improper.
                Saharia Decl., Ex. 3 at 2. No law or regulation imposed any such requirement on Theranos, a
23
                private company. The government has never noticed any expert testimony to the contrary. Any
24              such testimony is irrelevant under Rule 401, misleading and unduly prejudicial under Rule 403,
                and prohibited by Rules 701-702.
25
               The government may elicit testimony concerning the details of Ms. Holmes’ spending, including
26              testimony that implies Ms. Holmes improperly used corporate funds for her personal benefit.
27              Specifically, Ms. Yam may testify that Ms. Holmes used corporate funds to make a “$2,000

28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF ERIKA CHEUNG, DANIEL
   EDLIN, AND SO HAN SPIVEY (A.K.A. DANISE YAM)
   CR-18-00258 EJD
                                          3
               Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 6 of 7




 1         purchase from a jewelry store” and to purchase private jet travel. See Saharia Decl. Ex. 3 at 5.4
           This testimony is barred by this Court’s in limine order, which excludes “references to specific
 2         purchases or details reflecting branding of clothing, hotels, or other personal items.” Dkt. 798 at
           9. Ms. Holmes has asked the government to confirm that it will not elicit this testimony but to
 3
           date has received no response. The government should be ordered not to elicit this testimony and
 4         to instruct the witness accordingly.

 5                                              CONCLUSION

 6         For the foregoing reasons, the Court should grant Ms. Holmes’ motion.

 7

 8 DATED: September 6, 2021                             Respectfully submitted,

 9                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
10                                                      LANCE WADE
                                                        AMY MASON SAHARIA
11                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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26          The government has not noticed any allegations of improper use of corporate funds in its
   404(b) Notice. See Dkt. 580-2 at 81-83. Testimony that implies improper use of corporate funds would
27 violate Rule 404(b) and Criminal Local Rule 16-1(c)(3). It also would be irrelevant and unduly
   prejudicial.
28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF ERIKA CHEUNG, DANIEL
   EDLIN, AND SO HAN SPIVEY (A.K.A. DANISE YAM)
   CR-18-00258 EJD
                                                     4
            Case 5:18-cr-00258-EJD Document 1000 Filed 09/06/21 Page 7 of 7




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on September 6, 2021 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes

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     CR-18-00258 EJD
